Case 21-30085-hdh11             Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38                      Desc
                                  Main Document    Page 1 of 14


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    THE STATE OF NEW YORK, BY                             OF THE STATE OF NEW YORK
    LETITIA JAMES, ATTORNEY GENERAL
    OF THE STATE OF NEW YORK

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

IN RE:                                                §
                                                      §     CASE NO. 21-30085-hdh-11
NATIONAL RIFLE ASSOCIATION                            §
OF AMERICA and SEA GIRT LLC,                          §     CHAPTER 11
                                                      §
                  Debtors1.                           §     Jointly Administered

        THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO DEBTORS’
         APPLICATION FOR AN ORDER AUTHORIZING THE RETENTION AND
             EMPLYOMENT OF ANKURA CONSULTING GROUP, LLC AND
                APPOINTMENT OF LOUIS ROBICHAUX IV TO SERVE
               AS THE DEBTORS’ CHIEF RESTRUCTURING OFFICER




1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 1
Case 21-30085-hdh11               Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38                            Desc
                                    Main Document    Page 2 of 14



TO THE HONORABLE HARLIN D. HALE,
CHIEF UNITED STATES BANKRUPTCY JUDGE:

         The People of the State of New York, by Letitia James, Attorney General of the State of

New York (“NYAG”), a party in interest in the above-referenced bankruptcy case, hereby

respectfully submits this Preliminary Objection (the “Objection”) to the Debtors’ Application for

an Order Authorizing the Retention and Employment of Ankura Consulting Group, LLC and

Appointment of Louis Robichaux IV as the Debtors’ Chief Restructuring Officer [Docket No. 519]

(the “CRO Application”, Mr. Robichaux IV is the “Proposed CRO”, and Ankura Consulting

Group, LLC is “Ankura”).

                                      PRELIMINARY STATEMENT

         1.       The Debtors CRO Application and Motion for Expedited Consideration,2 filed mid-

trial (the “Trial”) on the NYAG’s Motion to Dismiss, or, in the Alternative, Appoint a Trustee3

and other similar motions (collectively the “Dismissal/Trustee Motions”),4 should be denied. The

CRO Application is yet another attempt by Debtors in this bankruptcy proceeding to assert

improper corporate authority in contravention of the NRA’s bylaws. After filing this bankruptcy

without authority or the Board’s informed consent, now Debtors attempt to install a new officer

without providing notice to and approval of, the NRA’s members, as required by the Association’s

Bylaws.5

         2.       Even if allowable under the Bylaws, the Court should not approve the application

because the proposed CRO will not provide the promised independent oversight. The pending


2
  Docket No. 520 (the “Motion to Expedite”).
3
  The State of New York’s Motion to Dismiss, or, in the Alternative, to Appoint a Trustee [Docket Nos. 155-156, 163]
(the “Motion”).
4
  The Dismissal/Trustee Motions include Ackerman McQueen, Inc.’s Motion to Dismiss the Chapter 11 Bankruptcy
Petition, or, in the Alternative, Motion for the Appointment of a Chapter 11 Trustee [Docket No. 131], the District of
Columbia’s motion and joinder in support of the NYAG’s Motion [Docket Nos. 214 & 429]. The Trial is also
adjudicating the Motion for Appointment of Examiner [Docket No. 114].
5
  Bylaws at Art. V, Sec. 1(b). A copy of the NRA’s most recent Bylaws are attached hereto as Exhibit A.


THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 2
Case 21-30085-hdh11              Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38                            Desc
                                   Main Document    Page 3 of 14



Dismissal/Trustee Motions allege bad faith, fraud, dishonesty and gross mismanagement by the

Debtors’ current leadership team. The evidence adduced thus far has demonstrated serious abuses

by the Debtors’ leadership. Indeed, by the Debtors’ own admission, there is no financial need for

the CRO. Accordingly, the appointment must be intended to address the issues relating to

governance failures, especially by Executive Vice President Wayne LaPierre and members of the

Special Litigation Committee (“SLC”).                Yet the proposed terms of the CRO appointment

undermine the CRO’s authority with conflicts, including by granting the SLC6 ultimate decision

making authority over any dispute between the CRO and management. Further, as a Section

363(b) retention, instead of Section 327, this Court and the parties will be deprived of the

transparency and oversight of the services rendered and fees charged to the Debtors. The facts,

circumstances and issues in this case warrant more, not less, transparency and oversight.

        3.       The Debtors provide no reasonable justification for their request that the CRO

Application be expedited and “set for hearing [at] the conclusion of the motions to dismiss and/or

for appointment of a trustee or examiner, which are set to conclude on Friday, April 16 . . . or as

soon thereafter as the Court can accommodate.”7 It is apparent that the CRO Application and

hearing are a distraction from the matters before the Court in the Trial and yet another improper8

attempt to add new evidence into the Trial. The Debtors’ only reason for requesting an expedited

hearings is because they “believe that the Court should consider [the CRO Application] at the same

time as the Court is considering the [Dismissal/Trustee Motions].”9 The Court should wait to rule,

even on an interim basis, until after deciding the Dismissal/Trustee Motions, which will moot the



6
  The SLC is comprised of the President (Carolyn Meadows), 1st Vice President (Charles Cotton), and 2nd Vice
President (Willes Lee). See Docket No. 1 at p. 5 of 16.
7
  Motion to Expedite at pp. 1-2.
8
  Among others prior to the CRO Application is the Debtors’ eliciting testimony related to a bankruptcy plan that has
not been filed or the subject of full and fair discovery for the Trial.
9
  Motion to Expedite at pp.1-2.


THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 3
Case 21-30085-hdh11               Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38                             Desc
                                    Main Document    Page 4 of 14



application if the Court grants either form of relief.10 No emergency exists that requires the Court

to issue a decision, even on an interim basis, that would also be a significant usurpation of the

Bylaws.

         4.       The NYAG further joins and shares the concerns and objections raised by the Office

of the United States Trustee (the “UST”) [Docket No. 580] (the “UST Objection”).

                                       PRELIMINARY OBJECTION

A.       THE BYLAWS PROHIBIT A NEW OFFICER POSITION.

         5.       The Court should deny the CRO Application because the Bylaws clearly and

strictly prohibit the creation of a new officer position without amending the Bylaws through the

members.

         6.       Article V of the Bylaws is entitled “Officers.” Section 1(a) unequivocally states

that the officers “shall be a President, one or more Vice Presidents, an Executive Vice President,

a Secretary, a Treasurer, an Executive Director of the National Rifle Association General

Operations, and an Executive Director of the [NRA] Institute of Legislative Action”11 (“NRA-

ILA”).

         7.       Section 1(b) clearly and unequivocally states in bold and italicized font: “The

Board may not abolish said offices nor create any other offices.” 12 The use of bold and italicized

font has important consequences and restrictions on changing provisions like Section 1(b). The

Bylaws state in all capitalized font: 13




10
   The Court’s Local Bankruptcy Rules allow the proposed professionals (Ankura and the Proposed CRO) to work for
the Debtors while the application is pending, and any such approval of the application can relate back to the date work
began. L.B.R. 2014-1(b)(1). As the Court is aware, the Debtors designated the Proposed CRO as its corporate
representative for the remainder of the Trial. In short,
11
   Bylaws at Art. V., Sec. 1(a).
12
   Id. at Sec. 1(b) (emphasis in the original).
13
   Id. at p. 2 (capitalization in the original).


THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 4
Case 21-30085-hdh11             Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38                         Desc
                                  Main Document    Page 5 of 14




        8.       To amend or repeal this provision, and others like it, requires approval by the

members of the NRA by mail: 14




        9.       By requesting the Court’s approval of the CRO Application, the Debtors are

requesting the Court to circumvent, if not ignore, the NRA’s Bylaws. Given the clear and direct

prohibition on the creation of new officer positions, the Court should not approve the CRO

Application, even on an interim basis, without the NRA properly creating the officer position of

Chief Restructuring Officer pursuant to, and in compliance with, its Bylaws.

B.      THE APPLICATION SHOULD BE DENIED EVEN IF THE BYLAWS DO NOT
        PROHIBIT THE APPOINTMENT OF A CRO.

        10.      Even if the Court is willing to consider ruling upon the CRO Application prior to

the end of Trial and without the NRA’s Bylaws being amended by the NRA’s membership, the

Court should deny the application for several reasons.

        i.       An Independent Statutory Trustee is Required to Address the NRA’s Issues
                 Because the Proposed CRO is Subject to Significant Control by the SLC and
                 Mr. LaPierre.




14
  Bylaws at Art. XV, Sec. 4. The procedure for proposing such actions to members by mail is provided by Art. XV,
Sec. 3.


THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 5
Case 21-30085-hdh11                Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38                               Desc
                                     Main Document    Page 6 of 14



         11.      First, the NYAG agrees with the UST that the Proposed CRO will lack the

independence required to resolve the NRA’s underlying issues.15 Rather, only an independent

fiduciary provided by the Bankruptcy Code, namely a chapter 11 trustee, will possess the requisite

powers and authorities to properly effectuate the necessary changes should these cases not be

dismissed. Below are just a few examples of the lack of independence that prevents the Proposed

CRO from making significant changes that the NRA’s current leadership may resist and reject.

         12.      The Proposed CRO and Ankura do not report to any independent committee or

special committee that is composed of clearly independent and unconflicted members who had no

part in commencing or continuing the Debtors’ bankruptcy cases. Instead, the Proposed CRO and

Ankrua report directly to the SLC.16 Further, the chain of decision makers for any material action

that the Proposed CRO would recommend are the same conflicted, and potentially conflicted,

officers – Wayne LaPierre as the Executive Vice President (“EVP”), and the members of the SLC

– Ms. Meadows, Mr. Cotton and Mr. Lee17 who are responsible for commencing and continuing

the Debtors’ bankruptcy cases.

         13.      “In the event of a material difference of opinion among the CRO . . . and Company

management . . . regarding any matter constituting Management Operations, the matter may be

raised with the elected Officers of the Company, who may propose a resolution.” 18 Company

management is not defined, but presumably, at the top of the management is Mr. LaPierre as the

EVP. But even if the “Company management” does not include Mr. LaPierre, and a “material

difference of opinion” exists, then the Proposed CRO may raise the issue with “elected Officers.”




15
   See generally, UST Objection at ¶¶8-15.
16
   CRO Application, Ex. B at p. 8 (“We . . . will report directly to the Special Litigation Committee . . . .”); and p. 22
of 24 (“The CRO will report directly to the SLC . . . .”).
17
   CRO Application, Ex. B at p. 23 of 24.
18
   CRO Application, Ex. B at p. 23 of 24.


THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 6
Case 21-30085-hdh11               Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38                            Desc
                                    Main Document    Page 7 of 14



While that phrase, in whole or part, is not defined, the elected Officers of the NRA are the eight

(8) elected by the Board pursuant to the Bylaws detailed above: President (Ms. Meadows), 1st

Vice President (Mr. Cotton), 2nd Vice President (Mr. Lee), the EVP (Mr. LaPierre), the Secretary

(John Frazer, who is also the general counsel), the Treasurer 19, Executive Director for the NRA-

ILA (Jason Oimet), and the Executive Director of General Operations (Joseph DeBergalis, Jr.).

Given that Mr. Spray, the Treasurer, is separated from the NRA and not involved in operations or

decision making, there are effectively only seven (7) elected Officers, of which four (4) are Mr.

LaPierre and the members of the SLC, and would, therefore, control the decision making on behalf

of the elected Officers and any resolution they might propose. Then, if the Proposed CRO still

disagrees, he may “bring the matter to the SLC for final determination.” 20 Ultimately, the Proposed

CRO’s different levels of dispute resolution on a material difference of opinion over Management

Operations matters involves Mr. LaPierre and the members of the SLC. As for CRO

Responsibilities      (which     include     both     the    Management         Operations      and    Bankruptcy

Responsibilities), the Proposed CRO’s decision making is “subject to only the direction,

limitations, and parameters set by the SLC and consistent with the Company’s bylaws and all

applicable laws.”21

         14.      Furthermore, the possibility exists that the SLC could be in a conflicted position

with respect to certain proposals the Proposed CRO may develop. For example, the Proposed CRO

may recommend a plan that replaces one or more of the elected Officers, or the members of the

SLC entirely. The CRO Application contains no solution or provisions to address who at the NRA



19
   According to the Debtors, the Treasurer is still Craig Spray, however, Mr. Spray has no day to day involvement or
communication with the Debtors in his role as Treasurer and has testified at the Trial that he is “not performing that
role” but performing duties for transitioning certain matters to an interim Treasurer, like changing signature cards.
20
   CRO Application, Ex. B at p. 23 of 24.
21
   CRO Application, Ex. B at p. 8 of 24. Ankura must also take its “direction, guidance or instruction from the SLC”
if there is a disagreement in connection with the Services (as defined by the engagement letter) it provides. Id.


THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 7
Case 21-30085-hdh11                  Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38          Desc
                                       Main Document    Page 8 of 14



will make such decisions if a conflict arises for the members of the SLC. The Proposed CRO’s

and Ankura’s engagement is therefore severely limited and potentially not likely to be effective

given the ultimate control and power over them by the SLC and Mr. LaPierre, and the failure to

provide for decision makers if or when a decision presents a conflict for the SLC. Given these

issues, a chapter 11 trustee is the proper solution if the cases are not dismissed, not an extra-

statutory creation of the Debtors.

           ii.      The $1 Million Restructuring Fee Appears Excessive and Presents Potential
                    Conflicts.

           15.      Second, the CRO Application provides for a $1 million “restructuring fee” “payable

immediately upon the effective date of any Chapter 11 plan consented to, or accepted by, the

Debtors.”22 Not only does this appear to be an excessive, and unnecessary, additional fee to be

paid given the hourly rate structure for Ankura and hourly rate of $1,155 per hour of the Proposed

CRO, the existence of this provision creates a potential conflict under these facts and

circumstances. The “restructuring fee” acts as an incentive for the Proposed CRO to develop and

seek confirmation of a plan that the Debtors ultimately approve, which could operate as a

disincentive to seeking approval of a plan that the Proposed CRO may believe is better for the

Debtors (e.g., a plan that may replace one or more of the elected Officers). Moreover, given that

the Debtors have already stated the ability and intent to propose a plan that pays unsecured,

undisputed creditors 100%, and the Debtors currently hold enough available cash to pay such

creditors under a plan, it is unclear what justifies such a large fee to confirm a plan.

           iii.     The Proposed Services Appear Duplicative and Potentially Unnecessary.

           16.      Third, the services to be provided by the Proposed CRO could duplicate services of

other estate professionals including the Debtors’ financial advisor. During the Proposed CRO’s


22
     CRO Application at p. 6, ¶22.


THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 8
Case 21-30085-hdh11             Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38                       Desc
                                  Main Document    Page 9 of 14



deposition, he testified that he and Ankura would provide services that include accounting, budget

to actual finance related services, financial analysis of a plan, and financial reporting.23 Further,

the services that comprise “Management Operations” in the CRO Application, 24 would appear to

duplicate many, if not most, of the services and duties being performed by the NRA’s Executive

Director of General Operations and those who report to him. Further, the Proposed CRO will also

undertake and perform what is defined as the “CRO Responsibilities” to effectuate the Debtors’

bankruptcy restructuring. 25 As discussed above, developing and confirming a plan under these

facts and circumstances does not appear to require significant financial restructuring that needs the

expertise of the Proposed CRO. Instead, any challenges in developing or confirming a bankruptcy

plan is likely to be based upon core legal issues related to how the plan may address the NYAG’s

Enforcement Action – not core financial issues.

        iv.      The Proposed Compensation Structure Lacks Appropriate Oversight.

        17.      Fourth, the Court should not approve the CRO Application because it seeks

approval under Section 363(b) which will deprive the Court and parties, including the UST, from

oversight and the Court’s approval of the Proposed CRO’s and Ankura’s fees. Under the facts and

circumstances of these Debtors’ cases, more – not less – oversight and transparency is needed,

including of all professionals’ fees and services rendered on the Debtors’ behalf.

C.      NO EMERGENCY EXISTS AND THE APPLICATION MAY BECOME MOOT.

        18.      The Debtors provide no legitimate basis or grounds as to why an emergency exists

to justify a ruling, even on an interim basis, which (as detailed below) would represent a significant



23
   See Application for Order Authorizing the Retention and Employment of BVA Group Restructuring and Advisory
LLC as Financial Advisor to the Debtors [Docket No. 349] at ¶9 (services to be provided include “Facilitating
bankruptcy financial reporting and disclosures; Assisting Debtors with management of its financial and treasury
functions; Supporting the preparation of financial projections and liquidity planning/management . . . .”
24
   CRO Application, Ex. B at pp. 22-23 of 24.
25
   CRO Application, Ex. B at p. 23.


THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 9
Case 21-30085-hdh11                  Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38         Desc
                                      Main Document    Page 10 of 14



circumvention and deviation of the NRA’s Bylaws. The Debtors grounds are limited solely to

their belief “that the Court should consider [the CRO Application] at the same time as the Court is

considering the [Dismissal/Trustee Motion].” 26 The Debtors’ do not cite any emergency crisis that

the CRO and Ankura must address – and can only address – with the Court’s approval of their

employment, even on an interim basis. Indeed, they cannot because the Local Bankruptcy Rules

already provide the Debtors the benefit of their services without the necessity of even an interim

order approving their employment. Thus, the desire to have the application considered with the

Dismissal/Trustee Motions is clearly the Debtors’ desperate efforts to influence the Court’s ruling

on those motions. Were the Debtors confident that they could prevail at Trial on the merits, they

would have no need to seek an expedited hearing on the CRO Application. The Court should not

indulge this latest litigation tactic.

           19.      A ruling on the CRO Application is also premature and unnecessary until after the

Court decides the Dismissal/Trustee Motions because the outcome may moot the need for such a

ruling. If the Court dismisses the Debtors’ cases, the CRO Application is immediately moot. If the

Court appoints a chapter 11 trustee, that trustee immediately replaces management which would

obviate any need for a CRO, or at least one selected by the Debtors. The Court should not indulge

the Debtors attempt to force the Court to make unnecessary decisions.

D.         THE DEBTORS DO NOT NEED COURT APPROVAL TO OBTAIN THE
           BENEFITS OF THE CRO APPLICATION.

           20.      Local Bankruptcy Rule 2014-1(b)(1) provides Debtors the benefit of the services

of their chosen professionals, like the Proposed CRO and Ankura, during the period of time when

their applications are pending and being considered by thy Court. This is achieved by operation of

the Court’s local rules: “If a motion for approval of the employment of a professional is made


26
     Motion to Expedite at pp.1-2.


THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 10
Case 21-30085-hdh11               Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38                            Desc
                                   Main Document    Page 11 of 14



within 30 days of the commencement of that professional’s provision of services, it is deemed

contemporaneous.”27 This local rule avoids the necessity of debtors or other estate constituencies,

like creditors’ committees, from rushing to the Court to seek emergency, even interim, approval

of the employment of their professionals. In fact, the multiple professionals employed by both the

Debtors28 and the Official Committee of Unsecured Creditors (the “UCC”)29 have all utilized –

and benefited from – this exact provision.

         21.      Based upon the CRO Application and engagement letter, April 2, 2021 (defined as

the “Effective Date” in the engagement letter) is the date when services began to be provided to

the Debtors.30 The CRO Application was filed on April 7, 2021, well within thirty (30) days of the

Effective Date. By having filed the CRO Application well within thirty (30) days, the Debtors also

fulfilled their obligation to Ankura in the engagement letter to “use their best efforts to ensure that

the Bankruptcy Court approves this Agreement, nunc pro tunc, to the Effective Date.”31

         22.      The Debtors provide no legitimate reason why the CRO Application should be

treated differently, much less preferentially, to all of the other employment applications of the

Debtors’ and UCC’s professionals. The local rules effectively, and wisely, address and

accommodate any concerns proposed professionals or their clients may have about ensuring



27
   L.B.R. 2014-1(b)(1).
28
   See Docket No. 319 (the Court’s order approving the Debtors’ application to employ Neligan LLP filed on January
29, 2021 effective as of January 15, 2021 (the “Petition Date”)); Docket No. 365 (the Court’s order approving the
Debtors’ application to employ Garman Turner Gordon LLP filed on February 10, 2021 effective as of January 25,
2021); Docket No. 554 (the Court’s order approving the Debtors’ application to employ BVA Group Restructuring
and Advisory LLC filed on March 12, 2021 effective as of March 10, 2021); Docket No. 364 (the Court’s order
continuing the hearing until after the Trial on the Debtors’ application to employ Brewer Attorneys & Counselors filed
on January 29, 2021 (the “Brewer Application”) which sought approval effective as of the Petition Date; if approved,
even months after services began, the application would be approved retroactively to the Petition Date).
29
   See Docket No. 489 (the Court’s order approving the UCC’s application to employ Norton Rose Fulbright US LLP
filed on March 10, 2021 effective as of February 8, 2021); Docket No. 490 (the Court’s order approving the UCC’s
application to employ AlixPartners, LLP filed on March 10, 2021 effective as of February 8, 2021).
30
   CRO Application, Ex. B at p. 8 of 24: “This letter agreement . . . entered into and effective as of April 2, 2021,
confirm the terms of the agreement among [Ankura] and [the Debtors] . . . .”
31
   Id. at p. 11 of 24, Section 8(a).


THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 11
Case 21-30085-hdh11         Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38               Desc
                             Main Document    Page 12 of 14



approval of services by such professionals to begin effective as of the date when such services

started so long as the applications are filed within thirty (30) days. That occurred here with the

CRO Application, and nothing further is needed, much less required, of the Court to provide the

Debtors’ with the benefit of the services of the Proposed CRO and Ankura.

                                RESERVATION OF RIGHTS

       23.     Due to the expedited nature of the hearing on the CRO Application, the NYAG

reserves all rights to supplement and modify the Objection. Further, the NYAG shares the concerns

and joins the objections raised by the UST.

                                        CONCLUSION

       24.     The Debtors do not need this Court to enter an order, even on an interim basis, to

obtain the services of the Proposed CRO and Ankura. The Debtors have demonstrated no exigency

for the Court to not simply rely upon Local Bankruptcy Rule 2014-1(b)(1) which assures that any

ultimate approval of the CRO Application will be effective as of the date when services began on

April 2, 2021. The Court should be wary of accepting the Debtors’ invitation to approve the CRO

Application, even on an interim basis, given the clear prohibition by the NRA’s Bylaws of creating

a new officer position. The Court should, therefore, at minimum, defer any ruling on the

application until after the Dismissal/Trustee Motions are decided.

       25.     Regardless of when the Court believes it is proper to rule upon the CRO

Application, the application should be denied. The NRA does not currently have a chief

restructuring officer position, nor has the NRA properly created one by complying with its Bylaws.

Until the NRA has done so, the Court should deny the CRO Application. Further, the Court should

deny the CRO Application based upon the reporting and decision making chain of command that

rests the ultimate power and control with Mr. LaPierre and the three members of the SLC. Instead,




THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 12
Case 21-30085-hdh11          Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38            Desc
                              Main Document    Page 13 of 14



a court appointed, independent statutory fiduciary is the proper solution if these cases are not

dismissed.

       26.     For the reasons demonstrated above, NYAG respectfully requests that the Court (1)

deny the CRO Application; or (2) defer the ruling on the CRO Application until after the Court

decides the Dismissal/Trustee Motions. NYAG also requests that the Court grant such other and

further relief as it deems just, proper and appropriate.

 Dated: April 15, 2021                           Respectfully submitted,

                                                   /s/ Eric M. Van Horn
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THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 13
Case 21-30085-hdh11         Doc 590 Filed 04/15/21 Entered 04/15/21 23:37:38                 Desc
                             Main Document    Page 14 of 14


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                                CERTIFICATE OF SERVICE

        I hereby certify that on April 15, 2021, a true and correct copy of the foregoing was served
(without exhibits) upon all parties entitled to notice, including the Debtors and United States
Trustee, via the Court’s electronic transmission facilities. Any party may request the exhibits from
the counsel listed above. Any additional method of service will be reflected with a supplemental
certificate of service.


                                                     /s/ Eric M. Van Horn
                                                     Eric M. Van Horn




THE STATE OF NEW YORK’S PRELIMINARY OBJECTION TO THE DEBTORS’ CRO APPLICATION
– PAGE 14
